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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

JACKLYN KNIGHTS,

      Plaintiff,

v.                                                   Case No. 6:23-cv-1104-RBD-DCI

WYNDHAM VACATION
OWNERSHIP, INC.,

      Defendant.
____________________________________

                                       ORDER

      Before the Court are Defendant’s Motion to Strike Plaintiff’s Jury Demand

(Doc. 31 (“Motion”).) Defendant’s motion is granted.

                                  BACKGROUND

      Plaintiff joined Wyndham’s Daytona Beach office as a sales representative

in February 2018. (Doc. 32, ¶ 10.) She resigned in February 2022. (Id. ¶ 35.) Plaintiff

submitted three employment applications to Wyndham. (Doc. 31, p. 4.) All

Wyndham employment applications, including Plaintiff’s, contain a jury trial

waiver at the end of the application above the electronic signature line. (Doc. 32,

pp. 3, 21, 23, 25, 27.) In bold letters in a separate paragraph, the waiver states:

      Should I become employed, as a condition of my employment, I agree to
      waive my right to a trial by jury in any action or proceeding involving any
      claim, whether statutory or at common law, related to or arising out of my
      employment or the termination of employment, including claims of
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      discrimination. I understand that I am waiving my right to a jury trial
      voluntarily and knowingly and free from duress or coercion. I understand
      that I have the right to consult with a person of my choosing, including an
      attorney, before signing this document.

(Doc. 31, p. 31.) Defendant submitted a screenshot of the jury trial waiver that

appears before an applicant electronically signs the employment application

(Doc. 31, p. 21.) Defendant submitted copies of Plaintiff’s three employment

applications. (Doc. 31, pp. 23, 25, 27 “(Application Receipts”).) All three

Application Receipts include the same questions and the same jury trial waiver.

(Id.) Because of a software glitch, the jury trial waiver language appears twice on

the employment applications. (Id.) Plaintiff demands a jury trial. (Doc. 32, p. 25.)

Defendant moved to strike Plaintiff’s jury demand (Doc. 31), and Plaintiff

responded (Doc. 34). The matter is ripe.

                                    STANDARDS

      “The right to trial by jury is fundamental.” Mega Life & Health Ins. Co. v.

Pieniozek, 585 F.3d 1399, 1403 (11th Cir. 2009). “A party may validly waive its

Seventh Amendment right to a jury trial so long as the waiver is knowing and

voluntary.” Bakrac, Inc. v. Villager Franchise Sys., Inc., 164 F. App'x 820, 823

(11th Cir. 2006). Because the right to a jury trial is a fundamental right, waivers are

reviewed with exacting scrutiny. See Mega Life & Health Ins. Co. v. Pieniozek, 585

F.3d 1399, 1403 (11th Cir. 2009).



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                                    ANALYSIS

      Defendant argues that Plaintiff waived her right to jury trial knowingly and

voluntarily. (Doc. 31, p. 6.) Plaintiff does not address this argument. (Doc. 34.)

      I.     Burden of Proof

      The Eleventh Circuit has not determined which party has the burden of

proving that a jury trial waiver was knowing and voluntary. See Bakrac, 164 F.

App’x at 823. But courts in the Middle District of Florida have placed the burden

on the party seeking to enforce the waiver. See, e.g., Baker v. Wyndham Worldwide,

No. 6:11-cv-1469, 2012 WL 3860049, at *5 (M.D. Fla. Aug. 17, 2012), adopted,

No. 6:11-cv-1469, 2012 WL 3854530 , at *1 (M.D. Fla. Sept. 5, 2012). Defendant seeks

to enforce the jury trial waiver. (Doc. 31, pp. 6–12.) So Defendant bears the burden

of establishing that the waiver was knowing and voluntary.

      II.    Knowing and Voluntary

       Whether a waiver was knowing and voluntary turns on several factors:

(1) the conspicuousness of the waiver; (2) the parties’ relative bargaining power;

(3) the sophistication of the party challenging the waiver; and (4) whether the

terms of the contract were negotiable. See Bakerac, 164 F. App'x at 824. No single

factor is controlling, and the court is not bound by the number of factors that have

been satisfied. Madura v. BAC Home Loans Servicing L.P., 851 F. Supp. 2d 1291, 1294

(M.D. Fla. 2012). Rather, the Court’s inquiry is “whether, in light of all the


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circumstances, the [c]ourt finds the waiver to be unconscionable, contrary to

public policy, or simply unfair.” Allyn v. W. United Life Assur. Co., 347 F. Supp. 2d

1246, 1252 (M.D. Fla. 2004).

             A.     Conspicuousness

A Jury trial waiver clause is more likely to be considered conspicuous when:

      (1) it is in its own separate paragraph, (2) it is in the same size font as the
      rest of the document, (3) it is located in the last numbered paragraph of a
      relatively short document, and as such, it cannot be considered to be hidden
      within the document, and (4) it states in clear and unambiguous language
      that [signatories] are waiving their right to a jury trial.

Green v. Wyndham Vacation Resorts, Inc., No. 6:08-cv-1997, 2010 WL 11507353, at *3

(M.D. Fla. July 12, 2010) (alteration in original) (cleaned up).

      Here, the waiver: (1) is in its own separate paragraph immediately above

the signature line (Doc. 31, p. 21); (2) is the same size and font as the rest of the

agreement and bolded (id.) ; (3) is in the last paragraph of the employment

application (id.) ; and (4) states in clear and unambiguous language that Plaintiff

waives her right to a jury trial. (Id.) So the waiver is clear and conspicuous.

See Green, 2010 WL 11507353, at *4 (finding the same waiver to be conspicuous);

Baker v. Wyndham Worldwide, No. 6:11-cv-1469, 2012 WL 3860049, at *5

(M.D. Fla. Aug. 17, 2012) adopted, 2012 WL 3854530, at *1 (M.D. Fla. Sept. 5, 2012).

             B.     Relative Bargaining Power

      Defendant argues that the relative bargaining power between the parties


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did not make the negotiation or refusal of the terms impossible. (Doc. 32, p. 9.)

Plaintiff does not address this argument. (Doc. 34, pp. 2–4.) In evaluating the

parties’ relative bargaining power, the question is whether the parties’ bargaining

positions were not unequal enough to make the negotiation or refusal of terms

impossible. See Green, 2010 WL 11507353, at *5. Even if one of the parties stands in

an advantageous bargaining position, a jury trial waiver can still be enforced if the

waiver’s terms are not unfair and not unconscionable. See Branch Banking & Tr. Co.

v. Nat’l Fin. Servs. LLC, 6:13-cv-1983, 2014 WL 2019301, at *5 (M.D. Fla. May 16,

2014). Here, while Wyndham is in a superior bargaining position as a prospective

employer, Plaintiff could have sought employment elsewhere. See Green, 2010 WL

11507353, at *5. Also, the jury waiver language is neither unfair nor

unconscionable. See Branch Banking & Trust Co., 2014 WL 2019301, at *5. So the

parties’ bargaining positions were not grossly unequal to make the negotiation or

refusal of terms impossible.

             C.    Sophistication

      Defendant argues that Plaintiff was sophisticated and not so naïve as to

make the waiver unenforceable. (Doc. 31. pp. 10–11.) Plaintiff does not address this

argument. (Doc. 34, pp. 2–4.) If an unsophisticated party waives the right to jury

trial, such a finding may weigh against the enforceability of the waiver.

See Green, 2010 WL 11507353, at *4–5 (finding a non-college educated plaintiff was


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“neither sophisticated or unsophisticated” but noting that “plaintiffs in similar

educational and comparable occupations have had jury waiver clauses enforced

over their objection.”) Plaintiff has more education than the plaintiff in Green

because Plaintiff studied business in college. (Doc. 31, p. 23); See Green 2010 WL

11507353, at *4–5. So at minimum, she cannot be described as unsophisticated. See

Collins v. Countrywide Home Loans, Inc., 680 F. Supp. 2d 1287, 1295 (M.D. Fla. 2010)

(enforcing a jury trial waiver in a mortgage agreement against plaintiffs who listed

their occupation as “tile guy” and “analyst” in their loan application).

            D.     Negotiability

      Defendant argues that the jury trial waiver is enforceable even though

Plaintiff needed to sign the employment application before she could be

considered for employment. (Docs. 31, pp. 2, 11–12.) Plaintiff does not address this

argument. (Doc. 34, pp. 2–4.)

      Simply because a party did not negotiate the language of a jury trial waiver

does not mean that the waiver or other terms in the agreement were non-

negotiable. See Oglesbee v. IndyMac Fin. Servs., Inc., 675 F. Supp. 2d 1155, 1158

(S.D. Fla. 2009). “The mere fact that an employee signs an employment agreement

containing a jury trial waiver in a take it or leave it situation does not make the

waiver unenforceable or unconscionable.” Winiarski v. Brown & Brown, Inc., No.

5:07-cv-409, 2008 WL 1930484, at *2 (M.D. Fla. May 1, 2008); see Green, 2010 WL


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11507353, at *4 (highlighting that party could walk away from unfavorable

contractual terms in an employment application by finding employment

elsewhere); see also Collins, 680 F. Supp. 2d at 1295 (highlighting a party’s ability to

negotiate or refuse unreasonable terms of a contract). A jury trial waiver that

allows an individual to consult an attorney before signing weighs in favor of

negotiability. See Green, 2010 WL 11507353, at *4.

      Here, no evidence suggests Plaintiff attempted to negotiate the terms of the

jury trial waiver. But Plaintiff had options to walk away or negotiate if she found

the jury trial waiver or any other terms of the applications unreasonable. See

Winiarski, 2008 WL 1930484, at *2 (M.D. Fla. May 1, 2008). Plaintiff could have

consulted an attorney before waiver. (Doc. 31, p. 31.) So the waiver was negotiable.

      III.   Scope of Waiver

      Plaintiff argues that it is unclear whether the scope of waiver is to

Defendant’s benefit. (Doc. 34, p. 3–4.) She posits that the waiver should be limited

to non-party Wyndham Worldwide Corporation and not Defendant because the

employment applications reference Wyndham Worldwide Corporation. (Id.) This

argument was not addressed in Defendant’s Motion. (See Doc. 31, pp. 3–12.) A jury

trial waiver may not be invoked by one who is not a party to the contract.

See Omega v. Deutsche Bank Tr. Co. Americas, 920 F. Supp. 2d 1298, 1300

(S.D. Fla. 2013). But a parent company is included in a contractual provision that


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applies to its subsidiaries. Cf. Tyman v. Ford Motor Co., 521 F. Supp. 3d 1222, 1228

(S.D. Fla. 2021).

      Plaintiff’s argument is unavailing because the introductory paragraph of the

application states 1 “Wyndham and its subsidiary companies . . . .” (Doc. 31, pp. 23,

25, 27) (emphasis added). So Wyndham and its subsidiary companies—including

Defendant—are covered by the jury trial waiver. Cf Tyman, 521 F. Supp. 3d at 1228.

This language also indicates that the employment application was general and not

limited to employment with a particular Wyndham entity. This conclusion is also

supported by three questions in the employment application, which ask about

employment with Defendant and subsidiary companies. 2 (See Doc. 31, p. 23.) So

the jury waiver is not limited to Wyndham World Wide Corporation and is

enforceable with respect to Defendant.

       IV.    Plaintiff’s Declaration



       1 While Defendant’s screenshot states, “Wyndham Destinations and/or Wyndham Hotels

& Resorts”, the Court’s findings remain unchanged because the introductory paragraph of the
screenshot states, “Wyndham Destinations and/or Wyndham Hotels & Resorts and their
subsidiary companies . . . .” (Doc. 31, p. 21) (emphasis added).
        2 Question 4.2 states “[h]ave you previously been employed by Wyndham Worldwide or

any of its subsidiaries or affiliates, including Wyndham Hotel Group, Wyndham Vacation
Ownership, Wyndham Vacation Resorts - Asia Pacific or Wyndham Destination Network
(formerly known as Wyndham Exchange & Rentals)?” Question 4.6 states “[a]re you currently
employed by Wyndham Worldwide or any of its subsidiaries or affiliates, including Wyndham
Hotel Group, Wyndham Vacation Ownership, Wyndham Vacation Resorts - Asia Pacific or
Wyndham Destination Network (formerly known as Wyndham Exchange & Rentals)?” Question
5.2.2 states “[h]ave you been previously or are you currently employed by Wyndham Vacation
Ownership or any of its current or former affiliates, including Trendwest Resorts, Inc.,
WorldMark or Fairfield Resorts?.” (Doc. 31, p. 23.)

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      Plaintiff’s response questions whether Plaintiff signed any jury trial waivers

and what specific language the waiver contained. (Doc. 34, p. 2.)Plaintiff relies on

Plaintiff’s declaration stating, “I have never seen the [jury waiver] screenshot . . .”

and that Plaintiff does “not recall ever signing anything electronic or otherwise,

that waived [Plaintiff’s] right to a jury trial for claims against [Defendant.]” (Doc.

34-1, ¶¶ 3–4.) Plaintiff also points to a discrepancy in the language contained in

the screenshot and the language in the Application Receipts. (Doc. 34, p. 2.)

Defendant did not address these arguments because these arguments were raised

in Plaintiff’s response.

      A plaintiff’s assertion that she did not recall signing an agreement is not

enough to invalidate the agreement. See Torjagbo v. United States, 285 F. App’x, 615,

620 (11th Cir. 2008). Plaintiff claims she doesn’t recall ever signing any document

that waived her right to a jury trial but does not quite deny that she signed the

agreement (Doc. 34-1, ¶¶3–4); See Torjagbo, 285 F. App’x at 620. So Plaintiff’s lack

of recall is not enough to invalidate the jury trial waiver. Finally, the discrepancies

between the screenshot and the Application Receipts center on the words used to

describe Wyndham and related entities 3—not around the language of the waiver;




      3 The screenshot states, “Wyndham Destinations and/or Wyndham Hotels & Resorts . . .”

while the Application Receipts state “Wyndham” and “Wyndham Worldwide Corporation.”
(Doc. 31, pp. 21, 27.)

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 the waiver in the screenshot is exactly the same waiver in the Application Receipts.

 (Doc. 31, pp. 21, 27.)

                                  CONCLUSION

         Accordingly, it is ORDERED AND ADJUDGED that Defendant’s motion

 (Doc. 31) is GRANTED.

         DONE AND ORDERED in Chambers in Orlando, Florida, on December 5,

 2023.




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